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                          UNITED STATES DISTRICT COURT
                               DISTRICT OF MAINE


ALAN N. KNOWLTON,                        )
                                         )
             Plaintiff,                  )
                                         )
      v.                                 )       1:09-cv-00334-JAW
                                         )
JUDITH SHAW, et al.,                     )
                                         )
             Defendant.                  )


           ORDER DENYING MOTION FOR RECONSIDERATION

      On June 13, 2011, the Court issued a seventy-nine page opinion in which it

granted in part and denied in part the Defendants‟ motion for summary judgment.

Order Granting in Part and Denying in Part Defs.’ Mot. for Summ. J. (Docket # 68)

(Order).   Disappointed they did not get everything they were seeking, the

Defendants quickly filed a motion for reconsideration, asserting that the Court

committed multiple “manifest error[s] of law.” Defs.’ Mot. for Recons. of Mot. for

Summ. J. Ruling at 1 (Docket # 69) (Defs.’ Mot.). First, the Defendants claim that

despite its exhaustive Order, the Court gave short shrift to their contention that the

misrepresentation claim must be summarily dismissed. Id. at 2-3. Second, they

assert that the Court committed obvious error in allowing the punitive damages

claim to proceed. Id. at 3-6. Third, they complain that the Court misapplied its

own local rule. Id. at 3 n.1. Well satisfied with the parts of the Order he won, the

Plaintiff defends it.     Pl.’s Reply to Defs.’ Mot. for Recons. of Mot. for Summ. J.

Ruling (Docket # 73) (Pls.’ Opp’n).          In reply, the Defendants reiterate their
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complaints. Defs.’ Reply to Pl.’s Reply to Defs.’ Mot. for Recons. of Mot. for Summ. J.

(Docket # 74) (Defs.’ Reply). The Court is unmoved.

I.     MISREPRESENTATION

       The Defendants are perturbed that, in ruling on their motion, the Court did

not parse each asserted misrepresentation and resolve each statement in their

favor. They say the First Circuit requires no less of each trial judge; they assert

that, on pain of manifest legal error, in order to properly appraise any motion for

summary disposition of a misrepresentation claim, the district court must hold each

statement up, expressly examine it, and explicitly discuss its contours, its context,

and its supposed misrepresentational quality, and then move studiously to the next

dissection. Otherwise, the Defendants claim, the Court is not doing its job and is

manifestly wrong.1

       The Court disagrees. The Defendants rely on Uncle Henry’s, Inc. v. Plaut

Consulting Co., 399 F.3d 33, 42-43 (1st Cir. 2005) for the proposition that, in a

misrepresentation claim, the Court must expressly analyze each individualized

statement when it rules on a motion for summary judgment. On this point, Plaut

was critical of appellant having “presented its challenge to these rulings at so high a

level of generality, and in such an all-or-nothing manner, as to render any


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  Before the lawyers can insist the Court do its job, they must do theirs. At a minimum, if they seek
a dispositive ruling based on undisputed facts, they must present the Court with facts that are
undisputed. Here, to the contrary, the lawyers handed the Court a messy, contentious, and
undifferentiated pile of evidence complete with countless quibbles, denials, disputes, and
equivocations. Combined they proposed 130 statements of undisputed material fact of which they
jointly admitted a grand total of 16. The Court resisted the temptation to dismiss the entire matter
and to tell them to return to Court with a more orderly motion. Ironically, Bankers Life now
complains about the Court‟s arduous attempt to create a semblance of order out of their chaos.


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individualized assessment of each of the magistrate judge's specific rulings an

exercise in guesswork.” Id. at 42. It emphasized the need for counsel to make a

specific, not general argument, since “[s]uch an individualized assessment of the

various statements is critical, as the various representations are of different types

and were made at different times, and some could conceivably qualify as actionable

under the relevant legal standards while others may not.” Id. at 42-43. The First

Circuit maintained its often-repeated admonition to counsel that the failure to

present more than a perfunctory argument amounts to a waiver. Id. at 43. The

Plaut opinion is consistent with a long line of First Circuit caselaw that warns

litigants that an undeveloped argument is no argument at all, a principle especially

applicable to misrepresentation claims.

        The Court is not convinced that the First Circuit‟s admonition to counsel is

also an appellate warning to trial judges about the absolute need to engage in recipe

jurisprudence. More specifically, the Court does not read Plaut as directing the

trial   courts   that,   in   denying   a   motion   for   summary   judgment   on   a

misrepresentation claim, the failure to make a similar detailed checklist

explanation of a denial amounts to reversible error.

        Be this as it may, the Court will do as the Defendants wish and explain its

denial of their motion more thoroughly. To begin, taking the facts in the light most

favorable to the Plaintiff, the Defendants played a brazen and dishonest double

game with a loyal and productive employee, a scheme that itself was built on a

fundamental misrepresentation: the Defendants knew that Alan Knowlton was not



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involved in the scheme to defraud Bankers Life customers in Maine but they also

knew that senior state of Maine bureaucrats who were fully capable of causing

significant economic damage to Bankers Life were out to get him. The higher ups at

Bankers Life knew that Mr. Knowlton had done nothing wrong and there was no

legally justifiable reason to terminate or even transfer him; yet, they made the

conscious decision to placate the vindictive state officials by handing up Mr.

Knowlton, firing him from his Maine position, and transferring him to an imaginary

job in Boston, Massachusetts, where they knew he was doomed to failure, and thus

could be justifiably axed. During this unseemly process, the Bankers Life officials

made repeated misrepresentations to Mr. Knowlton in an effort to play on his sense

of company loyalty, to take advantage of his naïve belief that they were telling him

the truth, and to ultimately unload him, a man who had—through no fault of his

own—become a liability to Bankers Life. This in sum is Mr. Knowlton‟s complaint

against Bankers Life, a complaint that resonates in a multi-layered series of

misrepresentations.

      In their motion, the Defendants highlight the statement that Mr. Knowlton

says it made to him to encourage him to take the Massachusetts job: that the

position represented a “great opportunity for him in Massachusetts to build a

Branch Sales Office on the North Shore.” Pl.’s Statement of Additional Material

Fact ¶ 100 (Docket # 62); Defs.’ Resp. to Pl.’s Statement of Additional Material Fact)

¶ 100 (Docket # 67).     The Defendants insist that “the alleged statement that

Bankers Life had a „great opportunity‟ for Plaintiff in Massachusetts clearly



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constitutes „puffery,‟ which is not actionable fraud.” Defs.’ Mot. to Recons. at 2.

They cite Schott Motorcycle Supply, Inc. v. American Honda Motor Co., 976 F.2d 58,

65   (1st   Cir.   1992)   for   the   proposition   that     puffery    cannot   constitute

misrepresentation. Id.

      Schott, however, is a markedly different case. In Schott, a failed motorcycle

dealership sued American Honda Motor Co., Inc., claiming that Honda had “reduced

its commitment to the motorcycle market after its representatives had promised

otherwise.” Id. at 60. The dealer pointed to statements from Honda that it “would

continue to be just as committed to the motorcycle market as it had been in the past

in terms of support for dealerships and advertising” and that despite the loss of the

Harley Davidson and golf cart businesses, “the products that Honda was coming

forward with, including motorcycles, scooters and other products would definitely

cause an increase in sales over previous years.”            Id. at 65.   The First Circuit

concluded that these general statements were “nothing more than „puffing‟ or „trade

talk,‟ upon which no reasonable person would rely.” Id.

      The Schott Court itself differentiated between business projections subject to

uncontrollable economic influences and “fraudulent misrepresentations of past or

existing facts on which plaintiff justifiably relied to its detriment.” Id. (quoting

Kelly Tire Serv. Inc. v. Kelly-Springfield Tire Co., 338 F.2d 248, 253 (8th Cir. 1964)).

The difference here is apparent. Mr. Knowlton says that Bankers Life‟s decision to

transfer him to Boston was part of a cynical plot to remove him from the state of

Maine where he had become a problem, place him in unfamiliar territory where he



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was sure to fail, and fire him when he did. In that context, the statement that

Massachusetts was a “great opportunity” and that he had the chance to build a

“branch office” were, arguably, not mere puffery about future events but affirmative

statements about existing facts, which were false and upon which a reasonable

person would justifiably rely.

      A second aspect of a “puffery” analysis is the relative positions of the parties

and “the opportunity afforded for an investigation and the reliance.” Plaut, 399

F.3d at 43 (quoting Veilleux v. Nat’l Broadcasting Co., 206 F.3d 92, 120 (1st Cir.

2000)).     Here, Bankers Life was dealing with its employee, not a competing or

independently viable business, and it was making representations about matters

uniquely within its control to a person whose job was on the line.

      The Defendants go on to say that even Mr. Knowlton admitted that the

statement was true. Id. (citing Defs.’ Statement of Material Fact ¶ 54 (Docket #

60)). This assertion, like so much of this motion, is clouded in confusion. In its

Statement of Material Fact 53, Bankers Life made the following assertion:

      Mr. Knowlton alleged in the amended complaint that Mr. Buckley
      represented to him that Bankers Life had a great employment
      opportunity for him in Massachusetts.

Defs.’ Statement of Material Fact ¶ 53 (Docket # 60) (DSMF). Bankers Life then

asserted:

      Mr. Knowlton admitted in his deposition, however, that this statement
      was true.

Id. ¶ 54.      Mr. Knowlton‟s identical responses to these statements were non-

responsive:

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      Qualified. The Consent Agreement between Bankers Life and the
      State of Maine that indicates that Mr. Knowlton is an incompetent and
      dishonest person continues to be published by the Defendants and the
      State of Maine (Exhibit L, Knowlton Dep. at 208:23-25; 209:1-5).
      Based on Mr. Knowlton‟s past experience with individuals terminated
      form (sic) Bankers Life, Mr. Knowlton believes that Messrs. Buckley
      and Valdez continued to repeat the statements that he was
      incompetent and dishonest to other (sic) after July 2007.

Pl.’s Resp. to Def.’s Statement of Material Fact ¶ 54 (Docket # 62) (PRDSMF). The

Plaintiff‟s response makes no sense. The Court could hold the Plaintiff to his non-

responsive answer, accept his admission, and conclude that Bankers Life made no

misrepresentation. However, rather than hold the Plaintiff to an obvious mistake,

the Court has resolved to dig deeper.

       To determine what to make of Bankers Life‟s assertion, the Court reviewed

the Bankers Life record citation: Mr. Knowlton‟s deposition, Exhibit F page 152.

DSMF ¶ 54. During his July 29, 2010 deposition, counsel for Bankers Life pointed

to the allegation in paragraph 154 of his Complaint, which alleged that Mr. Buckley

told him that Bankers Life had a great opportunity for him in Massachusetts to

build a branch office on the North Shore, and asked Mr. Knowlton: “What‟s false

about that statement?” DSMF Ex. F 151:24-25; 152:1-3 (Dep. of Alan Knowlton).

After some equivocation, Mr. Knowlton responded: “There‟s nothing -- nothing false

about that statement.    That was the statement he made to me that primarily

motivated me to go to Massachusetts.” Id. at 152:7-9. He was asked again whether

there was “anything untrue about that statement” and responded, “No.”         Id. at

152:18-19.




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        These answers are problematical for Mr. Knowlton since they strike at the

very heart of his contentions about the North Shore job offer.2 If Mr. Buckley‟s

statements about the North Shore opportunity were true, they can hardly form the

basis for a misrepresentation claim. But Mr. Knowlton‟s admissions jar with the

rest of his case against Bankers Life.             Elsewhere he says that Bankers Life

promised him a Branch Manager position on the North Shore, that he agreed to

accept a demotion to Unit Sales Manager on a temporary basis on the promise that

Bankers Life needed a little time to set up the North Shore office, that he performed

reasonably well as a Unit Sales Manager, that Bankers Life never raised

performance issues with him, that Bankers Life never made him Branch Manager,

that during this time, Bankers Life supervisors continually disparaged him behind

his back, and that Bankers Life, which had not made him a Branch Manager as

promised, effectively forced him out by cutting his salary because he was not a

Branch Manager. PRSMF ¶¶ 100, 109-18, 125-26.

        Unaided by any explanation from Mr. Knowlton, the Court does not know

what to make of the stark contrast between Mr. Knowlton‟s admission that the

Buckley statement was true and the entire rest of his argument. It is possible that

Mr. Knowlton understood the question to ask whether it was true that Mr. Buckley

made the statement, rather than whether the Buckley statement was true. The

difference between the accuracy and truth of a statement sometimes eludes

witnesses. This is suggested at least by his response that “[t]hat was the statement


2 That Mr. Knowlton‟s counsel has never made even a passing reference to this apparent admission

is distinctly unhelpful.

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he made to me that primarily motivated me to go to Massachusetts.” Here, viewing

the evidence in the light most favorable to Mr. Knowlton, the Court will not

conclude that Mr. Knowlton‟s admission effectively waives his misrepresentation

claim against Bankers Life.

      In sum, analyzing Mr. Buckley‟s statement under Plaut in the manner the

Defendants demand, the result is the same. Viewing his statement as an integral

part of Bankers Life‟s plot against Mr. Knowlton, Mr. Buckley‟s promise of a “great

opportunity” to build a branch office on the North Shore was neither innocuous

puffery nor true; it was cynically intended as a first step in a deliberate process to

remove Mr. Knowlton from the state of Maine, to place him in a disadvantageous

position in Massachusetts, and to terminate him once he failed to perform an

impossible and fictitious assignment. None of this is to say that a jury will agree

with Mr. Knowlton‟s version of these hotly contested facts. But it is to reiterate

that Mr. Knowlton has presented sufficient evidence to create a jury question on

this and other factual issues. See Rand v. Bath Iron Works, 2003 ME 122, ¶13, 832

A.2d 771, 775 (stating that whether a misrepresentation has been made “is a

question for the fact-finder”).

II.   PUNITIVE DAMAGES

      In its motion for reconsideration, the Defendants re-emphasize to the Court

the familiar standard for punitive damages under Maine law:

      Under Maine law, malice may be implied only if the plaintiff presents
      “clear and convincing evidence” that the defendant acted in a manner
      “so outrageous that malice toward a person injured as a result of that
      conduct can be implied.”

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 Defs.’ Mot. for Recons. at 3 (quoting Galarneau v. Merrill, Lynch, Pierce, Fenner &

 Smith, 504 F.3d 189, 204 (1st Cir. 2007) (emphasis added in Defendants‟ motion)).

 Bankers Life relies heavily on Galarneau which it says is a case “very analogous to

 the present one.” Id.

       In Galarneau, the First Circuit overturned a punitive damages award against

 a brokerage firm which had filed a form with the National Association of Securities

 Dealers called a U-5 that it knew contained false information about the plaintiff and

 the events that led to her termination. Galarneau, 504 F.3d at 192, 204-05. What

 differentiates this case from Galarneau, however, is that in Galarneau, the First

 Circuit concluded there was “no evidence that Merrill Lynch made the statement in

 the U-5 with the intent to deprive Galarneau of a job.” Id. at 205.

       Here, the situation is markedly different. Viewing Mr. Knowlton‟s case from

 his perspective, he has demonstrated that Bankers Life acted intentionally in

 setting about to destroy him in order to save itself from Maine regulators. Mr.

 Knowlton has plausibly alleged that Bankers Life engaged in an elaborate

 conspiracy, involving lies to him about what it was saying to state officials, lies to

 the state officials about Mr. Knowlton, lies to him about the restrictions the state

 officials had imposed on him, lies to him about a non-existent job in Massachusetts,

 lies to others about his competence and honesty, and lies to him about his

 performance as an employee both in Maine and Massachusetts. Mr. Knowlton has

 presented sufficient evidence to create a jury question as to whether Bankers Life

 did in fact engage in this multi-layered course of deception to save Bankers Life‟s

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 skin in Maine by easing him out of state and forcing his resignation in order to rid

 itself of the inconvenience of his continued employment. If the jury concludes that

 Mr. Knowlton has made out this case, it seems beyond argument that Bankers

 Life‟s conduct fits well within the Maine standard for the imposition of punitive

 damages. The question here is not whether Mr. Knowlton will be successful in

 proving his claims but whether he should be allowed to present them to a jury. The

 Court concludes, once again, that he should.

 III.   LOCAL RULE 56

        The Defendants claim that the Court misapplied its own local rule when it

 refused to consider additional statements of material fact that they submitted with

 their reply statement of material fact. Def.’s Mot. for Recons. at 3 n.1. Here, the

 Defendants filed a statement of material facts in support of their motion, consisting

 of fifty-eight paragraphs, and the Plaintiff responded with seventy-two paragraphs

 of his own. The Defendants then replied to the Plaintiff‟s response but added six

 new facts.   The Plaintiff did not respond to the new facts because there is no

 provision in the Rule for a sur-reply. Applying Local Rule 56 and noting that “by

 the time of the reply, everything that should have been said, has been said,” the

 Court refused to accept the Defendants‟ last set of facts. Order at 44 n.4.

        Surprisingly, despite the Court‟s ruling, the Defendants insist that “these

 facts fall squarely within Rule 56(d) and should be considered by the Court.” Defs.’

 Mot. for Recons. at 3 n.1. They say that Local Rule 56(d) “permits parties to submit

 a reply statement of material facts that is „limited to any additional facts submitted



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 by the opposing party.‟” Id. Citing no legal authority other than their own

 interpretation of a portion of the language of Local Rule 56(d), they maintain

 that they were only filing a statement permitted by the Local Rules.

       The Defendants are flat-out wrong. The full text of Local Rule 56(d) reads:

       A party replying to the opposition to a motion for summary
       judgment shall submit with its reply a separate, short, and
       concise statement of material facts which shall be limited to any
       additional facts submitted by the opposing party. The reply
       statement shall admit, deny or qualify such additional facts by
       reference to the numbered paragraphs of the opposing party‟s
       statement of material facts and unless a fact is admitted, shall
       support each denial or qualification by a record citation as
       required by subsection (f) of this rule. Each such reply statement
       shall begin with the designation ”Admitted,” ”Denied,” or
       “Qualified” and, in the case of an admission, shall end with such
       designation.

 D. ME. LOC. R. 56(d). The clear language of Local Rule 56(d) requires the movant to

 limit its reply statement to admitting, denying or qualifying the responsive

 statement. It does not allow the movant to add new facts at this late stage.

       The overall rationale of the rule is clear: there must be an end point. The

 Rule requires the movant for summary judgment to set forth those undisputed facts

 it contends entitle it to summary judgment; it permits the non-movant to put into

 play any facts, which the non-movant contends require trial. Finally, it permits the

 movant to respond to the non-movant‟s facts. But the Rule does not permit the

 movant to add yet another set of facts. If the movant were allowed to posit new

 facts in its reply, the movant‟s final document would be an unanswered set of

 factual assertions, which would run contrary to the requirement that the facts must


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 be interpreted in a manner most congenial to the non-movant. In other words, if

 the rule were interpreted in the Defendants‟ fashion, to comply with Rule 56, the

 Local Rule would have to permit the non-movant to sur-reply. However there is no

 provision in the local rule for the non-movant to file a sur-reply precisely because

 the movant is not allowed to posit a new set of facts with its reply statement.

 Finally, movants would be encouraged to hide their most salient statements of fact

 until the very end of the point-counterpoint process so that there would be no

 counter to their final point.

         The Court emphatically rejects the Defendants‟ contention as contrary to the

 express language of the local rule, contrary to the design of the local rule, and

 contrary to the local rule‟s implementation of Federal Rule 56. Its prior ruling on

 the Defendants‟ unauthorized set of new facts stands.

 IV.     CONCLUSION

         The Court DENIES the Defendants‟ Motion for Reconsideration of Motion for

 Summary Judgment Ruling (Docket # 69).

       SO ORDERED.



                                  /s/ John A. Woodcock, Jr.
                                  JOHN A. WOODCOCK, JR.
                                  CHIEF UNITED STATES DISTRICT JUDGE

 Dated this 24th day of August, 2011




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